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— Exhibit 8 ©
 

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Ellenbogen, Bennett
ae a

 

From: John Hanamirian [mailto:jmh@hanamirian.com]
Sent: Wednesday, July 10, 2019 2:01 PM

To: Ellenbogen, Bennett; John Hanamirian

Subject: RE: American River Bankshares (NY-09615)

 

CAUTION: This email originated from outside of the organization. Do not click links or open attachments unless you
recognize the sender and know the content is safe.

 

Ben:

| wanted to confirm that the oral testimony James may provide pursuant to the most recently issued Subpoena (May 15,
2019); (1) is for the purpose of having a record of the oral testimony previously provided pursuant to the attached
Proffer and the Subpoena that preceded that Proffer; and (2) that we each continue under the terms of that Proffer.

HANAMIRIAN
LAWFIRM

MAIN STREET TO WALL STREET

John M. Hanamirian, Esq.
Hanamirian Law Firm, P.C.
40 E. Main Street
Moorestown NJ 08057
“Olde Town Hall”

30 Wall Street

New York, NY 10005
856-793-9092 (0)
856-793-9121 (F)
215-660-0000 (M)
imh@hanamirian.com
Licensed in PA, NJ and NY.

From: Ellenbogen, Bennett

Sent: Thursday, July 12, 2018 5:03 PM

To: John Hanamirian

Subject: RE: American River Bankshares (NY-09615)

John:
Please see attached.

Ben

Bennett Ellenbogen
S.E.C.
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From: John Hanamirian [mailto:JMH@hanamirian.com]
Sent: Tuesday, July 10, 2018 5:54 PM

To: Ellenbogen, Bennett

Subject: RE: American River Bankshares (NY-09615)

Ben:

We can discuss the below when we provide the balance of the production. As I had said in the accompanying
correspondence to what has been provided to date, the electronic discovery is not yet fully produced. In the vein
of follow-up, I do not have a Proffer Letter. You had advised a Letter would be forthcoming when a date was
set.

MAIN STREET TO WALL STREET

John M. Hanamirian, Esq.
Hanamirian Law Firm, P.C.
40 £. Main Street
Moorestown NJ 08057
“Olde Tawn Hall”

30 Wall Street

New York, NY 10005
856-793-9092 (0)
856-793-9121 (F)
215-660-0000 (M)
jmh@hanamirian.com
Licensed in PA, NJ and NY.

From: Ellenbogen, Bennett [mailto:EllenbogenB@SEC.GOV]
Sent: Monday, July 09, 2018 11:15 AM

To: John Hanamirian <JMH @hanamirian.com>

Subject: American River Bankshares (NY-09615)

Dear Mr. Hanamirian:

A review of the covering letter accompanying Mr. O’Brien’s document production, and a targeted review of the
documents, indicates a number of likely deficiencies in the production:

A. No documents responsive to request number 3 (“All documents reflecting any communications—— including,
without limitation, emails, instant messages, and text messages, whether stored on a computer, mobile
device, server or elsewhere—between you and any other person relating to the Brokerage Firms during the
Relevant Period”) have been produced.

Can you confirm that in fact that Mr. O’Brien has no documents responsive to document request number
three in his possession, custody, or control or, produce all responsive documents immediately. Conversely, if
these documents have been provided, please provide the bates numbers for the documents that are
responsive to document request number 3.
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B. No documents have been produced that identify any email addresses used by Mr. O’Brien during the Relevant
Period (document request number 4).

Please provide this information or confirm that Mr. O’Brien did not have any email addresses during the
Relevant Period. Conversely, if these documents have been provided, please provide the bates numbers for
the documents that are responsive to document request number 4.

C. No documents reflecting telephone calls or text messages (document request number 6) appear to have been
produced.

Please provide this information immediately or confirm that Mr. O’Brien did not make any telephone calls
and/or text messages during the Relevant Period. Conversely, if these documents have been provided,
please provide the bates numbers for the documents that are responsive to document request number 6.

D. No documents reflecting any software programs, algorithms or hot keys used in connection with the trading
during (document request number 7) appear to have been produced.

Please provide this information immediately or confirm that no software programs, algorithms or hot keys
were used in the trading during the Relevant Periad. Conversely, if these documents have been provided,

please provide the bates numbers for the documents that are responsive to document request number 7.

in light of the above, please immediately produce all responsive documents, or confirm that all responsive
documents in Mr. O’Brien’s possession, custody, or control, have been produced.

Thank you,

Bennett Ellenbogen
S.E.C.
